17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 1 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 2 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 3 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 4 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 5 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 6 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 7 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 8 of 87
17-10524-mkv   Doc 1   Filed 03/06/17    Entered 03/06/17 15:28:37   Main Document
                                        Pg 9 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 10 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 11 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 12 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 13 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 14 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 15 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 16 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 17 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 18 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 19 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 20 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 21 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 22 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 23 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 24 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 25 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 26 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 27 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 28 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 29 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 30 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 31 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 32 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 33 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 34 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 35 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 36 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 37 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 38 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 39 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 40 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 41 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 42 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 43 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 44 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 45 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 46 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 47 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 48 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 49 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 50 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 51 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 52 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 53 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 54 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 55 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 56 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 57 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 58 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 59 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 60 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 61 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 62 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 63 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 64 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 65 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 66 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 67 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 68 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 69 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 70 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 71 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 72 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 73 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 74 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 75 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 76 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 77 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 78 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 79 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 80 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 81 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 82 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 83 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 84 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 85 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 86 of 87
17-10524-mkv   Doc 1   Filed 03/06/17     Entered 03/06/17 15:28:37   Main Document
                                        Pg 87 of 87
